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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ELAINE RICE, ALEX KUKICH, and                           No. 4:15-CV-00371
DEAN MAURO, Individually, and on
behalf of all others similarly situated,                (Judge Brann)

              Plaintiffs,

       v.

ELECTROLUX HOME PRODUCTS,
INC., LOWE’S HOME CENTERS, LLC,
and ABC CORP. 1-10,

              Defendants.

                                           ORDER

       AND NOW, this 10th day of March 2021, in accordance with the accompanying

Memorandum Opinion, IT IS HEREBY ORDERED that:

       1.     Defendants’ Motion to Dismiss (Doc. 279) is GRANTED IN PART AND

              DENIED IN PART.

              a.     Plaintiff Rice’s state tort law claims (Counts 2, 3, and 7) are once

                     again dismissed with prejudice, but only to the extent they seek

                     recovery for pure economic loss.

              b.     Plaintiff Mauro’s claims for violations of G.B.L. §§ 349 and 350

                     survive the motion to dismiss.

       2.     Defendants’ answer to the complaint is due no later than March 31, 2021.

                                                 BY THE COURT:


                                                 s/ Matthew W. Brann
                                                 Matthew W. Brann
                                                 United States District Judge
